              Case 3:20-cv-03345-WHO            Document 92     Filed 11/10/20                      Page 1 of 1
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                                    UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
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                                                      APPLICATION FOR
                                    Plaintiff(s),
                                                      ADMISSION OF ATTORNEY
              v.                                      PRO HAC VICE
    +'5 *OREDO 7UDGLQJ /LPLWHG $.$                (CIVIL LOCAL RULE 11-3)
     %LW0(;  HW DO                                
                                                    
                                     Defendant(s).   
 
         I,          7KRPDV + 6RVQRZVNL          , an active member in good standing of the bar of
 
       1HZ <RUN                    , hereby respectfully apply for admission to practice pro hac vice in
   the Northern District of California representing:               %HQ 'HOR                       in the
                                                                         (GZDUG + 7DNDVKLPD
     above-entitled action. My local co-counsel in this case is __________________________________,      an
   attorney who is a member of the bar of this Court in good standing and who maintains an office
   within the State of California.
       MY ADDRESS OF RECORD:                              LOCAL CO-COUNSEL’S ADDRESS OF RECORD:

      +XGVRQ<DUGVWK)ORRU                         6 )LJXHURD 6W VW)ORRU
    1HZ<RUN1<                                 /RV $QJHOHV &$ 
       MY TELEPHONE # OF RECORD:                          LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD:
                                              
       MY EMAIL ADDRESS OF RECORD:                        LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD:
    WVRVQRZVNL#EVIOOSFRP                              HWDNDVKLPD#EVIOOSFRP
        I am an active member in good standing of a United States Court or of the highest court of
   another State or the District of Columbia, as indicated above; my bar number is:       .
       A true and correct copy of a certificate of good standing or equivalent official document from said
     bar is attached to this application.
      I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
     Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.

         I declare under penalty of perjury that the foregoing is true and correct.

      Dated: 2                                                                 7KRPDV + 6RVQRZVNL
                                                                                         APPLICANT


                                     ORDER GRANTING APPLICATION
                             FOR ADMISSION OF ATTORNEY PRO HAC VICE
       IT IS HEREBY ORDERED THAT the application of                    7KRPDV + 6RVQRZVNL is granted,
     subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
   appearance pro hac vice. Service of papers upon, and communication with, local co-counsel
                                                                                S DISTRICT
     designated in the application will constitute notice to the party.       TE           C
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     Dated: November 10, 2020                                                                 TED
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                                                          UNITED STATES DISTRICT/MAGISTRATE
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                                                                                Judge W
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     PRO HAC VICE APPLICATION & ORDER                                               N
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                                                                                                            C            October 2012
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